      Case 3:08-cr-00307-JM                    Document 26                 Filed 03/05/08     PageID.69         Page 1 of 1



 1
 2
 3
 4
 5
 6
 7
 8
 9
                                                  UNITED STATES DISTRICT COURT
10
                                              SOUTHERN DISTRICT OF CALIFORNIA
11
12   UNITED STATES OF AMERICA,                                         )      Case No.08cr307 JM
                                                                       )
13                                  Plaintiff,                         )
     v.                                                                )      ORDER GRANTING JOINT MOTION TO
14                                                                     )      CONTINUE MOTION HEARING [Docket
     MICHAEL BESS-AMARILLAS, et al                                     )      No. 25]
15                                                                     )
                                    Defendants.                        )
16                                                                     )
17             Upon the joint motion of counsel and for good cause being shown, the motion hearing currently
18   scheduled before Judge Miller in Courtroom 16 on March 21, 2008 is hereby continued to 11:00 a.m. on
19   April 25, 2008.
20             IT IS SO ORDERED.
21   DATED: March 5, 2008
22
                                                                                 Hon. Jeffrey T. Miller
23                                                                               United States District Judge
24
25
26
27
28


                                                                             1
     K:\COMMON\CHMB_MIL\__SIGNED ORDERS\3 5 2008\08cr307_order grant jt motion_3 5 2008.wpd                                   08cr0307
